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UNITED STATES DISTRICT COURT
OF THE DISTRICT OF NEW JERSEY

xX
HEATHER BEESON-MAZZONE,
CHRISTOPHER MAZZONE
Plaintiffs, CASE NO. 2:24-CV-08493
VS.
IGENOMIX USA, INC. and
BRYNN LEVY, Ph. D STIPULATION AND ORDER
OF DISCONTINUANCE
Defendants.
xX

IT IS HEREBY STIPULATED AND AGREED, by and between the
undersigned, the attorneys of record for all parties appearing in the above-entitled action that this
action and any counterclaims filed is hereby discontinued with prejudice and without costs to any
party against any other; this Stipulation & Order may be signed in counterparts which, when
taken together, shall constitute a complete agreement; and this Stipulation & Order may be filed

without further notice with the Clerk of the Court.

Dated: October 16, 2024

Law Office of Jill H. Teitel, PLLC

By: Aut pf

Jif) H. Téitel, Esq.
Attorney for Plaintiffs

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SO ORDERED:

U.S.D.J., Hon. Brian R. Martinotti
